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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION
________________________________________________
SECURITIES AND EXCHANGE COMMISSION,              §
                                                 §
      Plaintiff,                                 §
                                                 §
v.                                               §
                                                 §
META 1 COIN TRUST,                               §
ROBERT P. DUNLAP, individually and d/b/a         § Civil Action No.: 1:20-cv-273-RP
      CLEAR INTERNATIONAL TRUST,                 §
NICOLE BOWDLER, and DAVID A. SCHMIDT,            §
                                                 §
      Defendants,                                §
                                                 §
      and                                        §
                                                 §
PRAMANA CAPITAL, INC.,                           §
PETER K. SHAMOUN a/k/a PETER K. SHAMOON, §
WANDA IRONHEART TRAVERSIE-WARNER,                §
ALFRED DEWITT WARNER JR., and                    §
IRONHEART TRUST,                                 §
                                                 §
      Relief Defendants.                         §
________________________________________________§

     JOINT MOTION OF PLAINTIFF SEC AND SHAMOON RELIEF DEFENDANTS
              REGARDING COURT’S ORDER DATED JUNE 24, 2020

        Plaintiff Securities and Exchange Commission (“SEC”) and Relief Defendants Pramana

Capital, Inc. and Peter K. Shamoun a/k/a Peter K. Shamoon (together, the “Shamoon Relief

Defendants”) (collectively, “the Parties”) respond as follows to the Court’s June 24, 2020 Order

[Dkt. 79] that the parties file an agreed proposed scheduling order or motion concerning the

same:

I.      CURRENT STATUS

        1.      On March 16, 2020 and May 14, 2020, the SEC filed its Complaint and Amended

Complaint, respectively, seeking emergency relief to halt ongoing fraudulent activity. [See Dkt.


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1-3; 50-54.] Since then, the Court has temporarily and preliminarily restrained the Defendants

from engaging in certain illegal conduct, frozen the assets of Defendants and Relief Defendants,

and ordered each Defendant and Relief Defendant to account for the use and disposition of

investor funds, among other things. In addition, the Court has issued contempt orders as to

Defendants Dunlap and Schmidt, and issued warrants for their arrests. [Dkt. 39-41.]

       2.      The Shamoon Relief Defendants have fully complied with all orders to which

they are subject and have provided the SEC with all accountings due at this time under the

Court’s Order. The Shamoon Relief Defendants have also timely responded to the SEC’s First

Request for the Production of Documents and provided all responsive documents to which they

have access as required by the Court’s Order.

       3.      The SEC and the Shamoon Relief Defendants are the only parties to the lawsuit

who have appeared in this matter—no Defendants or other Relief Defendants have answered or

otherwise appeared. As such, it is impossible to file an agreed proposed scheduling order

amongst all parties at this time.

II.    JOINT MOTION

       In light of the foregoing, the Parties move the Court to postpone the filing deadline on a

joint proposed scheduling order for 30 days, or until further Court Order.

       The Parties seek an extension not for purposes of delay, but in the interest of justice.

                                         CONCLUSION

       THEREFORE, the Parties respectfully request that the Court: (1) grant the motion to

postpone the filing of a scheduling order by 30 days or until further Court order; and (2) grant

such further relief to which the Parties may be entitled.




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DATED: July 7, 2020                                    Respectfully submitted,



/s/ William B. Mateja                                  /s/ Jennifer D. Reece
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COUNSEL FOR RELIEF                                     COUNSEL FOR PLAINTIFF
DEFENDANTS PRAMANA CAPITAL,                            SECURITIES AND EXCHANGE
INC. AND PETER K. SHAMOON                              COMMISSION



                                 CERTIFICATE OF SERVICE

        I certify that on July 7, 2020, I electronically submitted the foregoing document with the
clerk of court for the U.S. District Court, Western District of Texas, using the electronic case
filing system of the court. I hereby certify that I have served all parties according to FED. R. CIV.
P. 5(b)(2).


                                              /s/William B. Mateja
                                              William B. Mateja




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